       Case 20-20479-CMB                        Doc 78        Filed 03/28/25 Entered 03/28/25 10:46:36                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              LESLIE M. HIXENBAUGH


     Debtor 2              SHARON K. HIXENBAUGH
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-20479CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PNC BANK NA                                                                      11

 Last 4 digits of any number you use to identify the debtor's account                         8   8   9   8

 Property Address:                             5905 VICTOR CL
                                               ALIQUIPPA PA 15001




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $      13,218.21

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $      13,218.21

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $      13,218.21



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,101.15
         The next postpetition payment is due on                 4 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     LESLIE M. HIXENBAUGH                                             Case number (if known) 20-20479CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    03/28/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     LESLIE M. HIXENBAUGH                                        Case number (if known) 20-20479CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
06/25/2021   1201581    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         381.87
07/26/2021   1204782    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         313.78
08/26/2021   1207930    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         649.22
09/24/2021   1211030    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         331.43
10/25/2021   1214106    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         313.13
11/22/2021   1217142    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         307.03
12/23/2021   1220217    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         618.72
01/26/2022   1223280    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         618.72
03/25/2022   1229124    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         484.53
04/26/2022   1232162    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         288.45
05/25/2022   1235205    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         600.14
06/27/2022   1238228    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         288.45
07/26/2022   1241164    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         288.45
08/24/2022   1244047    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         600.14
09/27/2022   1246929    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         288.45
10/25/2022   1249730    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         269.19
11/23/2022   1252523    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         568.04
12/22/2022   1255264    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         262.77
01/26/2023   1257996    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         568.04
05/25/2023   1269051    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         416.22
06/26/2023   1271940    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         660.26
07/25/2023   1274684    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         285.08
08/25/2023   1277466    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         651.68
09/26/2023   1280197    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         285.08
10/25/2023   1282907    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         651.68
11/27/2023   1285585    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         285.08
12/21/2023   1288159    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         285.08
01/26/2024   1290855    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         651.68
02/26/2024   1293499    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         290.76
04/25/2024   1298813    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         655.12
05/29/2024   1301520    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                          59.94
                                                                                                                  13,218.21

MORTGAGE REGULAR PAYMENT (Part 3)
04/27/2020   1157761    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,793.20
05/26/2020   1161096    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         808.23
06/26/2020   1164258    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,039.78
07/29/2020   1167351    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         844.76
08/25/2020   1170429    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         885.89
09/28/2020   1173531    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         906.97
10/26/2020   1176618    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,133.91
11/24/2020   1179687    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         720.02
12/21/2020   1182626    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         952.46
01/25/2021   1185617    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,201.06
02/22/2021   1188739    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,235.86
03/26/2021   1192048    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,236.81
04/26/2021   1195283    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         989.79
05/25/2021   1198394    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         989.87
06/25/2021   1201581    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,087.40
07/26/2021   1204782    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
08/26/2021   1207930    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
09/24/2021   1211030    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
10/25/2021   1214106    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
11/22/2021   1217142    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
12/23/2021   1220217    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
01/26/2022   1223280    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         939.73
02/23/2022   1226152    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         842.70
03/25/2022   1229124    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,073.92
04/26/2022   1232162    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
05/25/2022   1235205    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
06/27/2022   1238228    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
07/26/2022   1241164    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
08/24/2022   1244047    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31

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Debtor 1     LESLIE M. HIXENBAUGH                                        Case number (if known) 20-20479CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
09/27/2022   1246929    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
10/25/2022   1249730    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
11/23/2022   1252523    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
12/22/2022   1255264    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
01/26/2023   1257996    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         958.31
02/23/2023   1260586    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         915.81
03/28/2023   1263373    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,059.88
04/25/2023   1266181    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         898.02
05/25/2023   1269051    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,176.65
06/26/2023   1271940    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
07/25/2023   1274684    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
08/25/2023   1277466    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
09/26/2023   1280197    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
10/25/2023   1282907    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
11/27/2023   1285585    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
12/21/2023   1288159    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
01/26/2024   1290855    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,012.59
02/26/2024   1293499    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
03/26/2024   1296150    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                         881.70
04/25/2024   1298813    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,132.12
05/29/2024   1301520    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
06/25/2024   1304046    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
07/25/2024   1306656    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
08/26/2024   1309213    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
09/25/2024   1311812    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
10/25/2024   1314339    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
11/25/2024   1316903    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
12/23/2024   1319295    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
01/28/2025   1321799    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,006.91
02/25/2025   1324215    PNC BANK NA                            AMOUNTS DISBURSED TO CREDITOR                       1,101.15
                                                                                                                  59,238.99




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

LESLIE M. HIXENBAUGH
SHARON K. HIXENBAUGH
5905 VICTOR CIRCLE
ALIQUIPPA, PA 15001

LAUREN M LAMB ESQ
STEIDL & STEINBERG PC
436 SEVENTH AVE STE 322
KOPPERS BUILDING
PITTSBURGH, PA 15219

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




3/28/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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